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                                      UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                       Case No. 16-20897-CR-PAS

  UNTIED STATES OF AMERICA,

          Plaintiff,
  vs.

  PRINCESS CRUISE LINES, LTD.,

         Defendant.
  __________________________/

  ORDER SETTING STATUS CONFERENCE DATES AND CAM and TPA REPORT DEADLINES

          THIS MATTER came before the Court sua sponte. The Parties, the Court Appointed Monitor

  (“CAM”), and the Third Party Auditor (“TPA”) have conferred and agreed on a schedule for future Status

  Conferences and CAM and TPA report deadlines.

          The Court continues to recognize the significant impacts of COVID-19 on the operations and

  financial resources of the Defendant, its parent corporation, and related corporate entities (collectively,

  the “Company”), as well as on the monitoring and auditing duties performed by the CAM and the TPA,

  respectively. As the Company has recognized, despite its current challenges, it must continue to comply

  with the Terms and Conditions of Probation. [DE 207 at 1]. The CAM must continue to monitor and

  report on the Company’s capabilities to meet ECP objectives, ECP § VI.F.3.b, and the TPA must continue

  to audit and report on the Company’s compliance with ECP requirements. ECP §§ VII-X.

          In consideration of COVID-19 impacts, and based on discussions during the July 29, 2020, Status

  Conference and subsequent discussions among the Parties, the CAM, and the TPA, this Court previously

  issued an Order removing the requirement for the CAM to submit a Quarterly Report in September 2020,

  and requiring that “[i]n lieu of the September 2020 CAM quarterly report, the CAM and [the Company]

  shall engage in communications sufficient to allow the CAM to inform the Court of the Company’s

  compliance with the Terms and Conditions of Probation.” [DE 199 at 1]. The Court ordered that the next

  CAM Quarterly Report, which was submitted on January 20, 2021, “would cover developments over the

  prior two quarters.” Id.; [DE 210].
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          The CAM and TPA report deadlines for the remainder of probation will continue to reflect the

  unique circumstances presented by COVID-19. No CAM Quarterly Report will be submitted in April

  2021 for the third quarter of ECP Year Four. Instead, the CAM shall next submit an Annual Report for

  ECP Year Four in July 2021, which will cover developments over the prior four quarters. The CAM and

  the Company shall continue to engage in communications sufficient to allow the CAM to inform the

  Court of the Company’s compliance with the Terms and Conditions of Probation. [DE 199].

          In addition, the CAM and TPA report deadlines for ECP Year Five will reflect the need for those

  reports to be submitted far enough in advance of the end of probation on April 18, 2022, to allow

  sufficient time for the Court, the Interested Parties, and the Company to consider and respond, as

  appropriate, to the reports. Therefore, the CAM and the TPA shall each submit a Final Report for ECP

  Year Five in advance of the penultimate Status Conference, to be held in January 2022. In lieu of further

  reports, the CAM and TPA shall each submit a Closing Letter in advance of the final Status Conference,

  to be held in April 2022, with final observations as to the Company’s compliance performance and

  capabilities for continuous improvement.

          In view of the limited amount of time remaining in the probationary period, the Court desires that

  future reports and Status Conferences address the Company’s capabilities for continuous improvement to

  support a sustainable compliance program and reduce its risk of recidivism after the ECP ends. See, e.g.,

  ECP § VI.F.5. Emerging from the pandemic presents an opportunity for the Company to re-affirm and re-

  prioritize its commitment to supporting the ships in their compliance efforts. This includes the

  Company’s progress in the (non-exhaustive) list of areas below, as well as its efforts to address the

  broader culture and leadership issues identified in CAM reports and the Environmental Compliance

  Culture Assessment—including how top leadership is taking responsibility for, and taking concrete

  actions to support, a culture of compliance:

          •   Clarity as to responsibility, accountability, and authority for environmental compliance
              between All Brands Group and brands/operating groups
          •   Culture
          •   Data management and analysis

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        •   Diversity, equity, and inclusion
        •   Global IT strategy
        •   Internal audit function
        •   Internal investigations
        •   Internal policies and procedures
        •   Management accountability
        •   Management of change
        •   Risk assessment
        •   Support for Ship Operations, including:
            o   Environmental Officer (“EO”) corps, including EO training and the Fleet EO program
            o   Food and non-food waste management
            o   Shore/ship communications
            o   Spare parts
            o   Staffing/crew complements
            o   Voyage planning
            o   Waste vendor assessment
        •   Training

        Accordingly, it is hereby ORDERED:

            1) In 2021 and 2022, the Court shall hold Status Conferences at 2:00 pm on the following
               dates:

                  a. April 30, 2021

                  b. July 28, 2021

                  c. October 22, 2021

                  d. January 28, 2022

                  e. April 18, 2022

            2) The CAM shall submit reports to the Court by the following dates:

                  a. No Quarterly Report will be submitted ahead of the April 30, 2021, hearing

                  b. July 19, 2021 (Annual)

                  c. October 12, 2021 (Quarterly)

                  d. January 19, 2022 (Final)


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                      e. April 11, 2022 (Closing Letter)

               3) The TPA shall submit reports to the Court by the following dates:

                      a. June 18, 2021 (Annual)
                           i.    As agreed by the Parties, the Company shall submit a response within 35
                                 days of receipt of the report.

                      b. January 19, 2022 (Final) 1
                            i.   As agreed by the Parties, the Company shall submit a response within 35
                                 days of receipt of the report.

                      c. April 11, 2022 (Closing Letter)


      DONE AND ORDERED in Miami, Florida, this 28th day of January, 2021.




                                                       ___________________________________
                                                       PATRICIA A. SEITZ
                                                       UNITED STATES DISTRICT JUDGE
  cc: All counsel of record




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   The ECP provides for the TPA to submit its Annual Report within 60 days of completing its annual round of
  audits. ECP § VIII.E.1. However, for ECP Year Five, that deadline would likely fall after probation ends.
  Therefore, as agreed by the Parties, the TPA shall submit a Final Report for ECP Year Five by January 19, 2022, in
  advance of the January 28, 2022 Status Conference.

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